Case 0:15-cv-62617-BB Document 36 Entered on FLSD Docket 02/16/2018 Page 1 of 38



                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                CASE NO. 15-62617-CIV-BLOOM

  UNITED STATES OF AMERICA
  ex rel. MARISELA CARMEN MEDRANO
  and ADA LOPEZ,

         Plaintiffs,

  v.

  DIABETIC CARE RX, LLC, d/b/a
  PATIENT CARE AMERICA;
  RIORDAN, LEWIS & HADEN, INC.;
  PATRICK SMITH; and
  MATTHEW SMITH.

        Defendants.
  ___________________________________/

                            THE UNITED STATES OF AMERICA’S
                              COMPLAINT IN INTERVENTION

         The United States of America (the “United States” or the “Government”), on behalf of

  the United States Department of Defense (“DOD”), brings this action against Defendants

  Diabetic Care Rx, LLC, d/b/a Patient Care America (“PCA”); Riordan, Lewis & Haden, Inc.

  (“RLH”); Patrick Smith; and Matthew Smith.


  I.     INTRODUCTION

         1.      This is a civil action brought by the United States against the Defendants under

  the False Claims Act (“FCA”), 31 U.S.C. §§ 3729-33, and the common law, to recover treble

  damages sustained by, and civil penalties and restitution owed to, the United States based on

  Defendants’ illegal scheme to knowingly present, and cause to be presented, false or fraudulent

  claims for compounded drugs to TRICARE, the federal health care program for active duty

  military personnel, retirees, and their families. As part of the scheme, Defendants paid kickbacks
Case 0:15-cv-62617-BB Document 36 Entered on FLSD Docket 02/16/2018 Page 2 of 38



  to “marketers” to target military members and their families for prescriptions for compounded

  pain creams, scar creams, and vitamins, regardless of need. While these products were supposed

  to be compounded specifically for individual patients’ needs, the formulations were in reality

  manipulated by the Defendants and marketers to ensure the highest possible reimbursement from

  TRICARE. The marketers paid telemedicine doctors who prescribed the creams and vitamins

  but never physically examined the patients. The marketers also colluded with the Defendants to

  pay many patients’ copayments to induce them to accept the compounded drugs. The

  Defendants and marketers then split the profits, and the scheme generated millions of dollars for

  them in a matter of months.

         2.      As set forth below, as part of this scheme, from September 1, 2014 to April 29,

  2015, Defendant PCA knowingly submitted claims to TRICARE for reimbursement for

  compounded drugs that were false or fraudulent because they were tainted by kickbacks to

  marketers and patients and did not arise from a valid prescriber-patient relationship. Defendant

  Matthew Smith knowingly caused the submission of false or fraudulent claims from September

  1, 2014 to April 29, 2015; Defendants RLH and Patrick Smith knowingly caused the submission

  of false or fraudulent claims from January 1, 2015 to April 29, 2015.


  II.    PARTIES

         3.      Plaintiff the United States brings this action on behalf of the DOD, including

  DOD component the Defense Health Agency (“DHA”), which administers the TRICARE

  program.

         4.      Relators Marisela Medrano and Ada Lopez are former employees of Defendant

  PCA who allege that Defendants violated the False Claims Act by paying illegal kickbacks to

  marketing companies to secure prescriptions for compounded drugs reimbursed by TRICARE.


                                                  2
Case 0:15-cv-62617-BB Document 36 Entered on FLSD Docket 02/16/2018 Page 3 of 38



         5.      Defendant PCA is a pharmacy organized under the laws of the State of Florida,

  with its principal place of business in Pompano Beach, Florida, that received over $68 million in

  reimbursements from TRICARE for compounded drug claims from September 1, 2014 to April

  29, 2015.

         6.      Defendant RLH is a private equity firm based in Los Angeles, California. RLH is

  the manager of a private equity fund, RLH Investors III, LP, which has owned a controlling stake

  in PCA since July 15, 2012. A related entity, Riordan, Lewis & Haden III, LLC, is the general

  partner of RLH Investors III, LP. At all relevant times, RLH managed and controlled PCA on

  behalf of the private equity fund through two RLH partners, Michel Glouchevitch and Kenneth

  Hubbs, who served as officers and/or directors of PCA and of a holding company with an

  ownership interest in PCA.

         7.      Defendant Patrick Smith, who resides in Palm Beach Gardens, Florida, has been

  PCA’s Chief Executive Officer since March 10, 2014.

         8.      Defendant Matthew Smith, who resides in Boca Raton, Florida, was PCA’s Vice

  President for Operations and led PCA’s topical compounding business from April 15, 2014

  through April 29, 2015.


  III.   JURISDICTION AND VENUE

         9.      This Court has jurisdiction over the subject matter of this action pursuant to 28

  U.S.C. §§ 1331, 1345 because this action is brought by the United States as a Plaintiff pursuant

  to the False Claims Act.

         10.     This Court may exercise personal jurisdiction over Defendants pursuant to 31

  U.S.C. § 3732(a) and because Defendants reside or transact business in the Southern District of

  Florida.


                                                   3
Case 0:15-cv-62617-BB Document 36 Entered on FLSD Docket 02/16/2018 Page 4 of 38



         11.     Venue is proper in the Southern District of Florida under 31 U.S.C. § 3732 and 28

  U.S.C. § 1391(b) and (c) because Defendants reside or transact business in this District.


  IV.    BACKGROUND

         A.      The False Claims Act And Anti-Kickback Statute

         12.     The FCA establishes liability to the United States for an individual who, or entity

  that, “knowingly presents, or causes to be presented, a false or fraudulent claim for payment or

  approval.” 31 U.S.C. § 3729(a)(1)(A). “Knowingly” is defined to include actual knowledge,

  reckless disregard, or deliberate indifference. Id. § 3729(b)(1). No proof of specific intent to

  defraud is required. Id.

         13.     The Anti-Kickback Statute (“AKS”) arose out of congressional concern that

  inducements may corrupt patient and professional health care decision-making, impose higher

  costs on federal health care programs, and divert federal funds towards goods and services that

  are medically unnecessary, of poor quality, or even harmful to a vulnerable patient population.

  To protect the federal health care programs from these harms, Congress enacted a prohibition

  against the payment of kickbacks in any form. The AKS makes it illegal for an individual or

  entity to knowingly and willfully:

                 [O]ffer[] or pay[] any remuneration (including any kickback, bribe,
                 or rebate) directly or indirectly, overtly or covertly, in cash or in
                 kind to any person to induce such person—

                 (A) to refer an individual to a person for the furnishing or
                 arranging for the furnishing of any item or service for which
                 payment may be made in whole or in part under a Federal health
                 care program, or

                 (B) to purchase, lease, order, or arrange for or recommend
                 purchasing, leasing, or ordering any good, facility, service, or item
                 for which payment may be made in whole or in part under a
                 Federal health care program.

                                                   4
Case 0:15-cv-62617-BB Document 36 Entered on FLSD Docket 02/16/2018 Page 5 of 38




  42 U.S.C. § 1320a-7b(b)(2).

         14.      A claim for reimbursement from a federal health care program for items or

  services resulting from a violation of the AKS “constitutes a false or fraudulent claim” under the

  FCA. 42 U.S.C. § 1320a-7b(g).

         15.      The AKS contains several exceptions in which the prohibitions against providing

  compensation in exchange for referrals or orders do not apply. The “bona fide employment”

  exception provides that “any amount paid by an employer to an employee (who has a bona fide

  employment relationship with such employer) for employment in the provision of covered items

  or services” will not violate the AKS. 42 U.S.C. § 1320a-7b(b)(3)(B). This type of

  compensation to bona fide employees is exempt from the statute’s prohibitions because the

  control that employers exercise over bona fide employees reduces the potential for abuse. See

  Medicare and State Health Care Programs: Fraud and Abuse; OIG Anti-Kickback Provisions, 56

  Fed. Reg. 35952 (July 29, 1991).

         16.      As set forth in more detail below, Defendants knowingly and willfully paid

  remuneration to marketers to obtain referrals for compound drugs reimbursed by TRICARE. At

  no time did Defendants have a bona fide employment relationship with the marketers to whom

  they paid such remuneration.

         17.      As set forth in more detail below, Defendants knowingly and willfully offered and

  paid remuneration to patients to induce the patients to purchase drugs reimbursed by TRICARE

  by waiving or satisfying copayments that the patients were obligated to pay or by providing other

  remuneration.




                                                  5
Case 0:15-cv-62617-BB Document 36 Entered on FLSD Docket 02/16/2018 Page 6 of 38



         18.     By providing kickbacks to marketers and patients to induce prescriptions for

  compounded drugs reimbursed by TRICARE, Defendants knowingly presented, or caused to be

  presented, false or fraudulent claims to the TRICARE program.

         B.      The TRICARE Program

         19.     TRICARE (formerly known as CHAMPUS) is a federal health care program, as

  defined in the AKS, 42 U.S.C. § 1320a-7b, that is administered by DHA, a component of the

  DOD. TRICARE provides health care insurance for active duty military personnel, military

  retirees, and military dependents.

         20.     TRICARE contracts with Express Scripts, Incorporated (“ESI”) to administer the

  prescription drug coverage of the TRICARE program, including the processing and payment of

  claims for reimbursement from TRICARE for compounded prescription drugs.

         21.     At all relevant times, TRICARE covered compounded drugs that are medically

  necessary and proven to be safe and effective. 32 C.F.R. § 199.4 (g)(15). Compounding is the

  practice in which a licensed pharmacist or physician combines, mixes, or alters the ingredients of

  a drug to create a medication tailored to the needs of an individual patient. A patient may need a

  compounded drug, for example, if she is allergic to an ingredient in a manufactured drug.

         22.     From at least September 1, 2014 to May 1, 2015, TRICARE reimbursed

  pharmacies for all the ingredients in a compounded drug. During this period, retail or mail-order

  pharmacies generally were paid the “average wholesale price” of each ingredient in a

  compounded drug minus a negotiated discount.

         23.     On March 5, 2015, TRICARE publicly announced that beginning on May 1,

  2015, it would screen “all ingredients in compound drug claims to ensure they are safe and

  effective and covered by TRICARE.” The new screening process checked to ensure that the


                                                  6
Case 0:15-cv-62617-BB Document 36 Entered on FLSD Docket 02/16/2018 Page 7 of 38



  ingredients were lawfully marketed in the United States, were safe and effective, and were

  medically necessary. To the extent drugs were rejected by the screening process, a doctor could

  request prior authorization for the compound. TRICARE paid far fewer claims for compounded

  drugs after implementing these changes on May 1, 2015.

           24.   At all relevant times, TRICARE beneficiaries were responsible for sharing the

  costs of compounded drug prescriptions filled by a retail or mail-order pharmacy by paying a

  copayment. 10 U.S.C. § 1074g(a)(6); TRICARE Reimbursement Manual, Chapter 2, Addendum

  B.

           25.   A pharmacy seeking reimbursement from TRICARE must comply with

  TRICARE’s anti-fraud and abuse provisions. 32 C.F.R. § 199.9(a)(4). Fraudulent situations

  include commission and kickback arrangements. Id. § 199.9(c)(12). Abusive situations include

  the routine waiver of patient copayments. Id. § 199.9(b)(1).

           26.   Fraud or abuse by a pharmacy may result in the denial of the pharmacy’s claims

  or the exclusion or suspension of the pharmacy from participation in the TRICARE program. 32

  C.F.R. § 199.9(b), (f).

           27.   To receive reimbursement from TRICARE for compounded drugs, a pharmacy

  must enter into a Provider Agreement with ESI, TRICARE’s pharmacy benefits manager.

           28.   TRICARE regulations specify that “[a]ll fraud, abuse, and conflict of interest

  requirements [in section 199.9] are applicable to the TRICARE pharmacy benefits program.” 32

  C.F.R. § 199.21(p). TRICARE’s contract with ESI also incorporates the provisions of 32 C.F.R.

  § 199.

           29.   On August 28, 2012, PCA executed a Provider Agreement with ESI in which

  PCA promised to:



                                                  7
Case 0:15-cv-62617-BB Document 36 Entered on FLSD Docket 02/16/2018 Page 8 of 38



               a. “be bound by and comply with the provisions of this Agreement and all

                  applicable laws, rules and regulations including, but not limited to, fraud waste

                  and abuse laws ….”

               b. “not submit a claim to ESI until it has preliminarily determined … that the

                  prescription presented is valid and issued in accordance with applicable laws,

                  rules and regulations.”

               c. “collect from [patients] … the applicable [c]opayment” and not “waive[] or

                  discount[]” copayments unless directed by ESI.

         30.      In the Provider Agreement between ESI and PCA, ESI expressly reserved the

  right to reverse any claim that PCA submitted for a prescription when PCA “failed to … verify

  that the prescription was issued in accordance with applicable laws, rules and regulations.”

         31.      In addition, PCA promised in its Provider Agreement with ESI to comply with

  ESI’s Provider Manual.

         32.      The ESI Provider Manuals in effect during the period from September 1, 2014 to

  April 29, 2015 required PCA to “ensure that the correct Copayment is charged” to the patient

  and “is not changed or waived.” The Manuals further warned that if ESI “becomes aware of any

  Copayment or cost-sharing discounts offered” by PCA, then PCA “may be subject to immediate

  termination” from ESI’s provider network.

         33.       The ESI Provider Manuals in effect during the period from September 1, 2014 to

  April 29, 2015 also required PCA to be aware of and comply with all state and federal law,

  “including anti-kickback statutes and self-referral statutes.” The Manuals warned that “[f]ailure

  to demonstrate compliance with these laws may result in immediate termination by [ESI].”




                                                   8
Case 0:15-cv-62617-BB Document 36 Entered on FLSD Docket 02/16/2018 Page 9 of 38



         34.     In addition, TRICARE covers pharmacy services but requires that “pharmacies []

  meet the applicable requirements of state law in the state in which the pharmacy is located.” 32

  C.F.R. § 199.6(d)(3); see also TRICARE Policy Manual 6010.57-M, Ch. 8, Sec. 9.1 (Feb. 1,

  2008 and April 1, 2015).

         35.     Under Florida law, a pharmacy may lose its license to dispense drugs if it

  dispenses a drug based on a prescription that a pharmacist knows or has reason to believe is not

  based on a valid practitioner-patient relationship that includes a documented patient evaluation,

  including history and a physical examination adequate to establish the diagnosis for which the

  drug is prescribed. Fla. Stat. § 465.023(1)(h).

         36.     As set forth below, by billing TRICARE for compounded drugs that were

  prescribed by practitioners who Defendants knew, or should have known, did not have a valid

  practitioner-patient relationship with the patients, Defendants presented, or caused to be

  presented, false or fraudulent claims to the TRICARE program.


  V.     FACTS

         A.      RLH Acquired DCRX And Planned To Sell It For A Profit In Five Years

         37.     The pharmacy now known as PCA was founded in 2006 as Diabetic Care Rx LLC

  (“DCRX”). DCRX was a sterile compounding pharmacy that provided intravenous nutritional

  therapy to End Stage Renal Disease patients receiving dialysis.

         38.     In July 2012, RLH made a controlling investment in DCRX through the private

  equity fund, RLH Investors III, LP. In its capacity as the manager of RLH Investors III, LP,

  RLH controlled and directed the conduct of DCRX on behalf of investors in the fund. RLH

  partners Michel Glouchevitch and Kenneth Hubbs became officers of DCRX, which was




                                                    9
Case 0:15-cv-62617-BB Document 36 Entered on FLSD Docket 02/16/2018 Page 10 of 38



  managed by DCRX Acquisition Corporation, of which Glouchevitch and Hubbs served as both

  officers and board members.

         39.     At the time that DCRX was acquired, RLH managed other health care companies,

  including Avella, a specialty pharmacy similar to DCRX.

         40.     At the time DCRX was acquired, RLH planned to increase DCRX’s value and sell

  it for a profit in five years. DCRX’s primary source of revenue when RLH acquired DCRX was

  Medicare, a federal health care program for qualified individuals aged 65 and older, younger

  people with qualifying disabilities, and people with End Stage Renal Disease regardless of age.

  Shortly after DCRX was acquired, Medicare reimbursement rates dropped for the nutritional

  therapy that DCRX provided to End Stage Renal Disease patients, and DCRX’s revenue

  correspondingly dropped. Restoring DCRX’s profitability became RLH’s primary objective.

         B.      RLH Directed DCRX’s Entry Into Topical Compounding Because Of Its
                 Extraordinary Profitability

         41.     In November 2013, RLH initiated DCRX’s entry into the business of non-sterile

  compounding of topical creams for “pain management” to capitalize on “the extraordinarily high

  profitability of this therapy,” which RLH anticipated could result in a “quick and dramatic

  payback” on its investment in DCRX.

         42.     RLH partners Glouchevitch and Hubbs were the DCRX board members who led

  the pain management initiative. By January 2014, the board had determined that insurance

  reimbursement ranged from $1,000.00 to $8,000.00 per prescription of compounded pain cream,

  and the gross profit margin was approximately 90 percent.

         43.     The board, including RLH partners Glouchevitch and Hubbs, contemplated from

  the outset that the pharmacy would bill the federal government for compounded creams. It




                                                 10
Case 0:15-cv-62617-BB Document 36 Entered on FLSD Docket 02/16/2018 Page 11 of 38



  directed further research into Medicare coverage of pain creams for the pharmacy’s existing

  customer base of End Stage Renal Disease patients.

         44.    RLH also recognized that the unbelievably high profit margins for topical

  compounding likely would not last. RLH’s goal, therefore, was to use the topical compounding

  business to generate a “very fast payback on [its] investment,” or in the words of RLH partner

  Glouchevitch, to “make hay while the sun shines.”

         45.    While doing so, RLH recognized that “overcharging for product” in its “pain

  management business” risked “cross[ing] the line from an ethics standpoint.”

         C.     Patrick Smith And Matthew Smith Were Hired To Drive Referrals And
                Profits

         46.    RLH sought out a new CEO for DCRX to work closely with RLH to launch the

  new topical compounding business and increase the company’s value by the time that RLH

  planned to sell the company.

         47.    In February 2014, RLH partner Glouchevitch recommended hiring Patrick Smith

  as CEO. Patrick Smith had previously served as CEO of two health care companies, Critical

  Care America, which provided home infusion services, and Curaxis, a drug development

  company.

         48.    Glouchevitch recommended Patrick Smith for the CEO position despite being

  warned by a talent consultant, which RLH retained to evaluate Mr. Smith’s likelihood of success

  as CEO, that although Patrick Smith had “the skills and experiences needed to successfully drive

  significant growth at DCRX,” he would “require more careful management than [RLH] may

  wish to provide.”

         49.    Based on Glouchevitch’s recommendation, the board agreed to hire Patrick Smith

  as CEO in March 2014.

                                                 11
Case 0:15-cv-62617-BB Document 36 Entered on FLSD Docket 02/16/2018 Page 12 of 38



          50.     RLH directed and oversaw Patrick Smith by, among other things, obtaining his

  agreement to “apprise[] [RLH] as early as possible about significant developments or concerns”

  regarding the company, and involve RLH in “important decisions starting at an early stage in the

  consideration process.” For example, RLH expected Patrick Smith to consult with RLH partners

  before entering into any type of contract that obligated the company to make annual payments

  over $50,000.00 or total payments over $150,000.00.

          51.     Based on Glouchevitch’s recommendation, the board also agreed to offer Patrick

  Smith a compensation plan that incentivized him to significantly grow the value of the business.

  In addition to an annual salary and bonuses, once the company became profitable, Mr. Smith was

  offered stock options that would allow him to receive millions of dollars if the pharmacy’s value

  reached a certain benchmark by the time RLH sold the pharmacy.

          52.     In April 2014, Patrick Smith hired Matthew Smith, a licensed pharmacist, to lead

  DCRX’s new topical compounding business. In explaining his choice of Matthew Smith to the

  board, Patrick Smith emphasized Matthew Smith’s “networks” in the area of topical

  compounding. Patrick Smith’s expectation that Matthew Smith’s connections in topical

  compounding would “generate immediate referrals as soon as we are operational” was a

  significant factor influencing Patrick Smith’s decision to hire Matthew Smith to lead DCRX’s

  topical compounding business.

          D.      PCA Paid Kickbacks To Marketers For Referring TRICARE Patients Or
                  Arranging For Or Recommending That TRICARE Patients Order
                  Prescriptions From The Pharmacy

          53.     By May 2014, DCRX had decided to use “independent contractors,” rather than

  employed sales staff, to generate prescriptions for topical compounds. RLH knew and approved

  of this plan.


                                                  12
Case 0:15-cv-62617-BB Document 36 Entered on FLSD Docket 02/16/2018 Page 13 of 38



         54.      Beginning in July 2014, DCRX entered into independent contractor agreements

  with the three marketing companies who would become the source of over 95 percent of PCA’s

  topical compounding revenue.

         55.      In July 2014, DCRX entered into a “Business Associate Agreement” with

  MDataRx, LLC, a marketing company owned and operated by Erik Santos.

         56.      In July 2014, DCRX entered into a “Marketing Services Agreement” with

  TeleMedTech, a marketing company owned and operated by Jonah Miller a/k/a Steve Miller

  (“Steve Miller”).

         57.      In September 2014, DCRX entered into a “Consulting Agreement” with MG Ten,

  a marketing company owned and operated by Monty Grow.

         58.      The only services that MDataRx, TeleMedTech, and MG Ten agreed to perform

  for PCA under the contracts were referring patients to the pharmacy for compounded drug

  prescriptions, or arranging for or recommending patients’ ordering of compounded drugs from

  the pharmacy.

         59.      For example, the “duties” that MDataRx agreed to fulfill pursuant to its “Business

  Associate Agreement” with PCA were to “solicit orders for” and “market” the pharmacy’s

  products.

         60.      Similarly, the services that TeleMedTech agreed to provide pursuant to its

  “Marketing Services Agreement” with PCA were “completed prescriptions on patients[’]

  behalf,” or patient “leads,” which were defined as “specific data fields collected by

  [TeleMedTech] of Individuals interested in [the pharmacy’s] products.”




                                                  13
Case 0:15-cv-62617-BB Document 36 Entered on FLSD Docket 02/16/2018 Page 14 of 38



         61.     The only compensation PCA agreed to pay MDataRx, TeleMedTech, and MG

  Ten under the contracts were commissions equal to 50 percent of the pharmacy’s profit from

  prescriptions the marketer sent to the pharmacy.

         62.     For example, DCRX’s “Consulting Agreement” with MG Ten required PCA to

  “pay [MG Ten] a fee equal to fifty percent of the cash amounts actually collected by [the

  pharmacy], net of [the pharmacy’s] associated cost of goods sold, from referrals to [the

  pharmacy] (1) by referral sources that [MG Ten] develops pursuant to its services and (2) that

  relate to prescriptions for topical compounds for pain, scar and wound treatments or other

  treatments.”

         63.     For tax purposes, the marketers were classified as 1099 contractors, not W-2

  employees. There was no employment relationship between PCA and the marketing companies

  or their employees.

         64.     For example, the lack of employment relationship was explicit in TeleMedTech’s

  “Marketing Services Agreement” with DCRX, which provided that “Marketer is not an

  employee of the [PCA] for any purpose whatsoever, but is an independent contractor[;] The

  [pharmacy] is interested only in the results obtained by the Marketer, that shall have sole control

  of the manner and means of performing under this Agreement.”

         65.     MDataRx’s “Business Associate Agreement” with DCRX contained similar

  language: “Business Associate shall be deemed an independent contractor, and nothing herein

  shall be construed to establish between Business Associate and [PCA] the relationship o[f]

  employer-employee, partnership or joint venture.”

         66.     MG Ten’s “Consulting Agreement” with DCRX also did not create an

  employment relationship between the parties. The agreement only obligated MG Ten to provide



                                                  14
Case 0:15-cv-62617-BB Document 36 Entered on FLSD Docket 02/16/2018 Page 15 of 38



  PCA “business development services” for “topical compounds,” and only required the pharmacy

  to pay MG Ten a “fee” equal to 50 percent of the pharmacy’s profit on each prescription for

  “topical compounds” generated by MG Ten.

         67.     RLH, PCA, Patrick Smith, and Matthew Smith knew that Erik Santos, Steve

  Miller, and Monty Grow were not employees of PCA.

         68.     Matthew Smith negotiated PCA’s contracts with the companies owned by Erik

  Santos, Steve Miller, and Monty Grow.

         69.     In the summer of 2014, Matthew Smith forwarded draft contracts that he received

  from the marketers to David Corcoran, an attorney who served as a part-time general counsel for

  PCA. Around the same time and in connection with PCA’s entry into the topical compounding

  business, Mr. Corcoran advised Matthew Smith and Patrick Smith that (1) they should not pay

  doctors; (2) their independent marketers should not pay third-party referral sources; and (3) the

  company should not be billing government health care programs. He also discussed with them

  the AKS.

         70.     Beginning in September 2014, PCA regularly received prescriptions for

  TRICARE patients by email or fax from the marketers, rather than from the patients or

  prescribers.

         71.     By at least December 2014, Patrick Smith and RLH knew that the majority of

  PCA’s topical compounding revenue was coming from TRICARE and being generated by

  MDataRx, TeleMedTech, and MG Ten, rather than the pharmacy’s employed sales staff.

         72.     On December 16, 2014, Patrick Smith informed RLH that TRICARE was the

  source of $2.44 million in topical compounding revenue from October 1 through December 12,

  2014, which was half of PCA’s topical compounding revenue during that period. In the same



                                                  15
Case 0:15-cv-62617-BB Document 36 Entered on FLSD Docket 02/16/2018 Page 16 of 38



  communication, Patrick Smith conveyed to RLH that marketers MG Ten, TeleMedTech, and

  MDataRx generated approximately 75 percent of PCA’s topical compounding revenue.

         73.     On January 27, 2015, RLH partners Glouchevitch and Hubbs were informed by

  Matthew Smith at a board meeting led by Patrick Smith that TRICARE was the source of $11.7

  million in topical compounding revenue, which was over 75 percent of PCA’s total

  compounding revenue during that period. Matthew Smith further informed the meeting

  attendees that over $5.6 million of PCA’s topical compounding revenue had been referred by

  MG Ten, and over $4.8 million of PCA’s topical compounding revenue had been referred by

  MDataRx.

         74.     During the January 27, 2015, board meeting, Patrick Smith also reported that the

  company had changed its operating name to Patient Care America.

         75.     On April 28, 2015, RLH partners Glouchevitch and Hubbs were informed by

  PCA’s CFO at a board meeting attended by Patrick Smith and Matthew Smith that the

  percentage of topical compounding revenue from TRICARE had grown from approximately 75

  percent at the beginning of 2015 to over 98 percent by March 2015. At the same meeting,

  Matthew Smith reported that the company had received over $69 million in total topical

  compounding revenue in 2015 and that over $64 million of that revenue, or 90 percent, had been

  referred by MG Ten, TeleMedTech, and MData Rx.

         76.     In accordance with PCA’s contracts with the marketers, PCA paid the marketers a

  percentage of the profit on each prescription that the marketer sent to the pharmacy.

         77.     From November 2014 through April 2015, PCA paid by wire transfer nearly $7.5

  million to MDataRx.




                                                  16
Case 0:15-cv-62617-BB Document 36 Entered on FLSD Docket 02/16/2018 Page 17 of 38




                       Date                        Payee                          Amount
                  11/7/2014                 MDATA Rx                          $257,276.92
                 11/21/2014                 MDATA Rx                          $115,952.20
                  12/9/2014                 MDATA Rx                          $642,877.35
                 12/19/2014                 MDATA Rx                          $348,308.37
                   1/2/2015                 MDATA Rx                          $865,249.70
                  1/16/2015                 MDATA Rx                          $259,643.21
                  1/30/2015                 MDATA Rx                          $928,955.80
                  2/13/2015                 MDATA Rx                          $482,171.30
                  2/27/2015                 MDATA Rx                          $457,099.86
                  3/13/2015                 MDATA Rx                          $668,236.33
                  3/30/3015                 MDATA Rx                          $517,958.44
                  4/10/2015                 MDATA Rx                          $981,516.44
                  4/24/2015                 MDATA Rx                          $963,117.34

                                                  TOTAL                      $7,488,363.26


        78.    From November 2014 through April 2015, PCA paid by wire transfer over $6.7

  million to TeleMedTech.

                      Date                         Payee                          Amount
                  11/7/2014                TeleMedTech                           $8,751.69
                12/18/2014                 TeleMedTech                         $18,108.13
                   1/2/2015                TeleMedTech                         $26,219.14
                  1/16/2015                TeleMedTech                         $15,852.30
                  1/30/2015                TeleMedTech                        $179,757.90
                  2/13/2015                TeleMedTech                        $314,333.10
                  2/27/2015                TeleMedTech                        $583,504.04
                  3/13/2015                TeleMedTech                       $1,048,443.54
                  3/27/2015                TeleMedTech                       $1,217,811.10


                                             17
Case 0:15-cv-62617-BB Document 36 Entered on FLSD Docket 02/16/2018 Page 18 of 38




                  4/10/2015                TeleMedTech                      $1,544,944.55
                  4/27/2015                TeleMedTech                      $1,809,665.34

                                                  TOTAL                     $6,767,390.83


        79.    From November 2014 through April 2015, PCA paid by wire transfer over $19.5

  million to MG Ten.

                       Date                        Payee                          Amount
                  11/7/2014                       MG Ten                       $85,945.75
                11/12/2014                        MG Ten                         $5,000.00
                11/19/2014                        MG Ten                       $20,000.00
                11/21/2014                        MG Ten                       $74,662.59
                  12/9/2014                       MG Ten                      $210,762.94
                12/18/2014                        MG Ten                      $288,290.50
                   1/2/2015                       MG Ten                      $732,974.48
                  1/20/2015                       MG Ten                      $450,000.00
                  1/20/2015                       MG Ten                      $436,489.95
                  1/30/2015                       MG Ten                       $17,500.00
                  1/30/2015                       MG Ten                    $1,206,816.80
                  2/13/2015                       MG Ten                    $1,964,740.80
                  2/27/2015                       MG Ten                    $2,322,450.90
                  3/13/2015                       MG Ten                    $3,644,893.60
                  3/27/2015                       MG Ten                    $1,630,902.80
                  3/31/2015                       MG Ten                      $125,000.00
                  4/10/2015                       MG Ten                       $62,500.00
                  4/10/2015                       MG Ten                    $4,425,543.80
                  4/27/2015                       MG Ten                    $1,832,268.40

                                                  TOTAL                    $19,536,743.31



                                             18
Case 0:15-cv-62617-BB Document 36 Entered on FLSD Docket 02/16/2018 Page 19 of 38



         80.    Patrick Smith and Matthew Smith tracked payments to PCA’s outside marketers

  and ensured that the relevant commissions were paid on all patients referred by the marketers

  and in accordance with the contracts with those marketers.

         81.    Each month, Patrick Smith sent the prior month’s financial statements to PCA’s

  board members, including RLH partners Glouchevitch and Hubbs. Among other things, each

  statement reported the month’s topical compounding revenue and “commission” payments to the

  marketers.

                       Compounding Sales Revenue                   Compounding Commissions
            09/14                        $237,622.20                                  $98,996.67
            10/14                       $1,104,864.88                                $533,562.73
            11/14                       $2,401,147.68                              $1,104,756.60
            12/14                       $5,037,150.76                              $2,592,819.32
            01/15                       $9,259,522.75                              $4,962,506.61
            02/15                     $15,872,586.88                               $7,551,357.56
            03/15                     $23,456,718.89                              $11,272,857.68
            04/15                     $28,164,207.33                              $13,907,594.42
         TOTAL                        $85,533,821.37                              $42,024,451.59


         82.    The notes to the financial statements characterized the commissions as “an agreed

  cost based on compounding sales.”

         83.    RLH periodically funded commission payments to the marketers that were due

  before PCA received reimbursement for the prescriptions, even after RLH knew that the

  marketers were earning commissions on prescriptions reimbursed by TRICARE. RLH knew that

  the money it was providing to PCA was to be used to pay commissions to the marketers.

         84.    On December 24, 2014, Patrick Smith asked RLH for cash to fund commissions

  as “sales are still ahead of collections,” and RLH provided PCA $2 million on January 29, 2015.

                                                 19
Case 0:15-cv-62617-BB Document 36 Entered on FLSD Docket 02/16/2018 Page 20 of 38



         85.     The only work the marketers in fact performed for the Defendants in exchange for

  the payments was referring patients to PCA for compounded drug prescriptions or arranging for

  or recommending patients’ ordering of compounded drugs from the pharmacy.

         86.     Consistent with their status as independent contractors, the marketers were not

  given specific work assignments by PCA. The pharmacy did not control how the marketers

  generated the prescriptions that the marketers sent to the pharmacy.

         87.     Marketers targeted TRICARE patients and persuaded some to become marketers

  themselves by referring other TRICARE patients they knew. After securing a patient’s consent

  to accepting pain creams, scar creams, and/or wellness vitamins, the marketers sent the patient’s

  information to a telemedicine doctor who the marketers were paying per “consultation.” The

  telemedicine doctors never saw the patients or physically examined them. Sometimes, the

  telemedicine doctors would not speak to the patients at all.

         88.     Over half of the claims for which PCA was paid by TRICARE in the period from

  September 1, 2014 to April 29, 2015 were prescribed by only five providers. One of these

  providers, Dr. Paul Matthew Bolger, pleaded guilty to health care fraud on August 22, 2017. Dr.

  Bolger admitted that he signed prescriptions for compounded drugs that were then faxed to

  several pharmacies, including PCA, when he had not spoken to, conducted a physical evaluation

  of, or reviewed medical records for the patient.

         89.     In the period from September 1, 2014 to April 29, 2015, over 80 percent of PCA’s

  claims for TRICARE reimbursement were for patients who resided outside of Florida, and the

  majority of PCA’s top prescribers were located outside of Florida as well.

         90.     PCA rarely had contact with the individuals who prescribed the drugs for the

  patients. The prescribers were considered clients of the marketers. As Matthew Smith explained



                                                     20
Case 0:15-cv-62617-BB Document 36 Entered on FLSD Docket 02/16/2018 Page 21 of 38



  in a November 4, 2014 email, “[m]ost of our referral sources like to handle [communications

  with the prescribers] on their own so they can manage the client.”

          91.      For example, MDataRx’s control over the relationship between the patient,

  prescriber, and pharmacy was explicit in MDataRX’s “Business Associate” agreement with

  PCA, which specified that:

                a. “[PCA] shall not have the power to oversee and supervise [MDataRx] with

                   respect to the means and manner in which [MDataRx] performs functions

                   hereunder.”

                b. “MDataRx will handle all customer service for the relationship of the physicians,

                   patients and pharmacy related to the MDataRx relationships.”

          92.      TeleMedTech’s “Marketing Services Agreement” with PCA similarly provided

  that the pharmacy “is interested only in the results obtained by the Marketer, that shall have sole

  control over the manner and means of performing under this Agreement.”

          93.      PCA’s payments to the marketers were intended to induce the marketers to send

  prescriptions to PCA. PCA did not control the pharmacies to which the marketers sent their

  prescriptions. The marketers selected the pharmacy to use to fill the prescriptions. PCA knew

  that the marketers were at times sending their prescriptions to other pharmacies.

          94.      TeleMedTech’s agreement with PCA expressly provided that “[t]he Marketer

  may represent other Clients in the Compounding pharmacy business.”

          95.      Erik Santos of MDataRx frequently indicated to PCA that TRICARE

  prescriptions would be sent to another pharmacy if PCA could not process the prescriptions more

  quickly or profitability.




                                                   21
Case 0:15-cv-62617-BB Document 36 Entered on FLSD Docket 02/16/2018 Page 22 of 38



         96.     For example, on October 20, 2014, Erik Santos complained to Matthew Smith

  about a two-week delay in processing the TRICARE prescriptions that Mr. Santos had sent to

  PCA to be filled and conveyed that if PCA could not streamline its processing of TRICARE

  prescriptions “my guys will want to transfer to another pharmacy.”

         97.     On October 29, 2014, Erik Santos informed Matthew Smith that another

  pharmacy was receiving at least 30 percent more TRICARE reimbursement for the same

  prescriptions and asked Matthew Smith to determine how to increase the TRICARE

  reimbursement for the prescriptions so that Mr. Santos could continue sending the business to

  PCA.

         E.      PCA Paid Patients’ Copayments

         98.     PCA and TeleMedTech routinely split the cost of the copayments owed by

  patients referred to PCA by TeleMedTech, without any verification of the patients’ financial

  need, and then disguised the payments as coming from a sham charitable organization, which

  was affiliated with TeleMedTech.

         99.     This scheme, which was directed by Matthew Smith and Steve Miller, the owner

  and operator of TeleMedTech, provided remuneration to patients by paying or waiving the

  patient’s copayment. The purpose of paying or waiving copayments was to induce patients to

  purchase medication by eliminating any financial barrier to their purchase of the drugs.

         100.    In discussing the scheme with Matthew Smith in a July 17, 2014 email, Steve

  Miller wrote, “[s]ometimes, as you know, that $40 copay stops people from ordering a $6000

  medication, of which $5960 is free … lol,” to which Matthew Smith responded, “Yes, I agree. I

  have been experiencing many ‘no-go’s’ secondary to not wanting to pay a $20-$75 copay.”




                                                 22
Case 0:15-cv-62617-BB Document 36 Entered on FLSD Docket 02/16/2018 Page 23 of 38



         101.    On August 4, 2014, Steve Miller confirmed with Matthew Smith that

  TeleMedTech was willing to fund the copayments for all patients referred by TeleMedTech to

  PCA, because TeleMedTech “will not lose a patient over a copay.”

         102.    The “charity” that PCA and TeleMedTech used to further this scheme was called

  PFARN. It performed no function other than serving as a conduit for TeleMedTech and PCA to

  fund the copayments for patients referred by TeleMedTech.

         103.    As Steve Miller explained in an August 21, 2014, email to Matthew Smith,

  “[PFARN] will be sending 100% of the payment to PCA that is due for each client on behalf of

  each client so the pharmacy can ACT complaint [sic] – but since they only receive 50% of the

  profit [on the prescription], they only will pay 50% of the expense – the pharmacy covers the

  other 50% from their profit (thus equaling 100%) – this keeps things even and fair.”

         104.    In furtherance of the scheme, Patrick Smith and Matthew Smith signed checks

  from PCA to PFARN for 50 percent of the cost of the copayment owed by the patients referred

  to PCA by TeleMedTech each month.

         105.    PFARN then sent PCA a cashier’s check, generated from a bank or 7-Eleven

  convenience store, for each patient for the full copayment amount for each patient.

         106.    On March 11, 2015, Steve Miller apologized to Matthew Smith and pharmacy

  staff member Alisa Catoggio for delay sending PCA the cashier’s checks, explaining it was “an

  epic effort” by PFARN staff to obtain them. He further relayed that because “most places have a

  CUMULATIVE $2000 limit,” PFARN staff had to visit “5 separate stores to get enough cashiers

  checks while walking around with 10k in PFARNS staff’s pocket.” He concluded by stating that

  the next set of cashier’s checks would come next week, “as it’s another 6 store[s], $11k, 3 day

  process. But hey I can[’]t complain :)”



                                                 23
Case 0:15-cv-62617-BB Document 36 Entered on FLSD Docket 02/16/2018 Page 24 of 38



         107.   PCA knew that PFARN and TeleMedTech were inseparable. Steve Miller told

  Matthew Smith that PFARN and TeleMedTech had a “common parent company.” At Steve

  Miller’s request, PCA mailed its checks to PFARN to TeleMedTech’s address.

         108.   There was no verification of financial need of the patients whose copayments

  were funded through this scheme.

         109.   When pharmacy staff questioned TeleMedTech’s payment of copayments for

  TRICARE patients, Matthew Smith responded that PFARN was a “verified legit not for profit

  entity,” and that TRICARE copayment assistance from PFARN was not prohibited.

         110.   From the outset, Matthew Smith knew that PFARN was not a legitimate

  copayment assistance charity. He knew it was nothing more than a front for ensuring that neither

  PCA nor TeleMedTech would “lose a patient” over a copayment.

         111.   According to PCA’s own records, pursuant to the PFARN scheme, copayments

  were not collected from patients for 3,477 prescriptions for which TRICARE paid over $16

  million.

         112.   PCA colluded with other marketers as well to pay kickbacks to patients by

  covering their copayments without regard to the patients’ financial need and to induce them to

  accept compounded drugs reimbursed by TRICARE.

         F.     Prescriptions Were Not Based On Valid Patient Consent Or Practitioner-
                Patient Relationship

         113.   PCA and the marketing companies, not the prescribing doctors, designed the

  compounds to maximize the profit on each prescription.

         114.   In August 2014, pharmacy staff were told that if the “spread,” or the difference

  between the reimbursement amount and the ingredient cost, was less than 50 percent, staff must




                                                 24
Case 0:15-cv-62617-BB Document 36 Entered on FLSD Docket 02/16/2018 Page 25 of 38



  discuss the prescription with Matthew Smith before dispensing the prescription and submitting a

  claim for reimbursement.

         115.    In response to marketers’ requests, PCA staff submitted “test claims” to

  TRICARE to determine the reimbursement amount for prescriptions that the marketers were

  considering sending to the pharmacy.

         116.    For example, on January 2, 2015, Matthew Smith asked pharmacy staff whether

  they had submitted test claims for three formulas as requested by Erik Santos. Alisa Catoggio

  responded that they determined one of the ingredients was not profitable and were evaluating

  alternatives that would result in higher reimbursement.

         117.    Matthew Smith praised pharmacy staff when they adjusted formulas to maximize

  reimbursement. For example, on December 29, 2014, Matthew Smith praised Alisa Catoggio for

  “reviewing all the Tricare claims to assure maximum reimbursement,” adjusting claims when a

  “lower reimbursement” ingredient was used, and changing PCA’s billing system to only bill the

  higher-reimbursing ingredient.

         118.    When PCA and the marketing companies determined the most profitable

  compounds, the marketing companies then arranged for those compounds to be ordered for

  hundreds of patients. For example, in the period from September 1, 2014 through April 29,

  2015, the compound for which the highest total amount was paid by TRICARE was a scar cream

  that was claimed for 454 patients and reimbursed an average of $16,880.00 per claim. This

  compound was prescribed by 43 different providers.

         119.    As a result of PCA’s efforts to maximize profit, the average reimbursement

  amount per prescription increased over time.




                                                 25
Case 0:15-cv-62617-BB Document 36 Entered on FLSD Docket 02/16/2018 Page 26 of 38



          120.     On October 28, 2014, RLH partners Glouchevitch and Hubbs were informed by

  Matthew Smith at a board meeting attended by Patrick Smith that the average reimbursement per

  compounded drug prescription had increased from $803 in September 2014 to $1,672 in October

  2014.

          121.     At the board meeting held on January 27, 2015, Matthew Smith informed the

  attendees, including Glouchevitch, Hubbs, and Patrick Smith, that average reimbursement per

  compounded drug prescription had further increased from $1,672 in October 2014, to $2,972 in

  November 2014, to $4,371 in December 2014, to $6,695 in January 2015.

          122.     PCA and the marketing companies’ collusion in arranging for TRICARE patients

  to order the prescriptions that resulted in the most profit for the pharmacy and marketers

  improperly influenced the selection of ingredients in compound formulas.

          123.     From September 2014 through April 2015, patients regularly called PCA

  complaining that they had not ordered the cream or spoken to the doctor who purportedly

  prescribed it.

          124.     For example, on September 26, 2014, Matthew Smith was informed by PCA staff

  of a patient who complained that she did not know the doctor who purportedly prescribed the

  medication she received from PCA. The patient told PCA that she had never seen or heard from

  the doctor.

          125.     On December 26, 2014, Matthew Smith was informed by PCA staff that another

  patient had complained that she had not authorized the pharmacy to send her any prescriptions.

          126.     On February 20, 2015, Patrick Smith was informed by Matthew Smith that

  another patient had complained that he had not authorized the prescriptions and that his primary

  doctor had not approved them and had advised him not to use them.



                                                  26
Case 0:15-cv-62617-BB Document 36 Entered on FLSD Docket 02/16/2018 Page 27 of 38



         127.    The complaints also revealed that the marketers were at times misleading or

  harassing patients into agreeing to the prescriptions.

         128.    For example, on February 27, 2015, a “[c]ustomer called in extremely upset[,]

  [s]tat[ing] she does not have any pain, does not know who [the] doctor is, and does not want

  these product[s].” The customer further conveyed that “she did not ever talk to a doctor[;] she

  talked to a salesman who called her and he was very insistent [that] she try the products even

  after she insisted she did not have any pain whatsoever.”

         129.    Marketers, in fact, pushed creams on TRICARE patients who did not need them,

  in order to increase the number of prescription referrals to PCA. One marketer, Ginger Lay,

  induced patients to accept the prescriptions by offering them cash for filling out a “survey” of

  their experience using the creams. The survey was intended as a way to pay patients kickbacks

  for accepting prescriptions they did not need. Lay, who worked for Monty Grow, pled guilty on

  January 5, 2018 to conspiracy to commit health care fraud in connection with this scheme. Some

  patients were paid directly for their own prescriptions. Many patients were paid for prescriptions

  for their spouse, children, or other family members. These kickbacks to TRICARE patients

  demonstrates that profit, not medical need, drove prescriptions.

         130.    Even though the complaints revealed that the prescriptions were being generated

  by the marketers without valid patient consent or prescriber-patient relationship, PCA continued

  to bill for the prescriptions referred by the marketers.

         131.    Matthew Smith instructed staff not to reverse any claims without discussing it

  with him first, and at times instructed staff not to reverse claims in response to patient

  complaints. Matthew Smith also instructed staff to credit all charges to a patient if necessary to

  prevent the patient from complaining to the patient’s health insurance provider.



                                                    27
Case 0:15-cv-62617-BB Document 36 Entered on FLSD Docket 02/16/2018 Page 28 of 38



         G.      Defendants Were Aware Of The Prohibitions Of The AKS
  	
         132.    Having been in the health care industry for many years serving End-Stage Renal

  Disease patients, PCA was familiar with and trained its employees on laws and regulations

  governing billing to federal health care programs, including the AKS.

         133.    As an investor in health care companies, RLH knew or should have known when

  it acquired PCA in July 2012, that health care providers that bill federal health care programs are

  subject to laws and regulations designed to prevent fraud, including the AKS.

         134.    When Patrick Smith became CEO of PCA in March 2014, he knew or should

  have known, from his past experience as CEO of two health care companies, about statutes

  regulating the health care industry, including the AKS.

         135.     When Matthew Smith was hired to lead the topical compounding business in

  April 2014, his prior experience included evaluating health care providers’ compliance with

  federal health care program requirements, which include compliance with the AKS.

         136.    In addition, PCA’s compliance training dated January 2014 instructed that the

  AKS prohibits paying remuneration to induce a referral for any item or service reimbursed by a

  federal health care program.

         137.    PCA’s employee handbook dated January 2014 warned that “[r]outine waivers of

  co-insurance or deductibles for reasons other than real financial hardship” are “illegal under the

  anti-kickback statute.”

         138.    In April 2014, RLH partner Glouchevitch sent Patrick Smith the “OIG guidelines”

  regarding copayment waivers, which alert health care providers that routine copayment waivers

  could violate the Anti-Kickback statute. Glouchevitch knew that providers had to make a good




                                                  28
Case 0:15-cv-62617-BB Document 36 Entered on FLSD Docket 02/16/2018 Page 29 of 38



  faith attempt to verify a patient’s actual financial condition before agreeing to waive a

  copayment.

         139.    In May 2014, Matthew Smith sent Patrick Smith a PowerPoint presentation

  entitled “Hot Topics in Compounding Laws and Regulations” prepared by a law firm

  specializing in health care law. The presentation directs that pharmacies using marketing

  representatives to market and advertise compound prescriptions “[m]ust still comply with the

  Anti-Kickback Statute.” It further advises that the following practices subject a pharmacy to

  heightened scrutiny and/or violate the AKS: compensating 1099 contractors “purely on

  commissions”; using an outside marketing company with no “SOPs” or standard operating

  procedures; and using marketing representatives who are paying doctors to write prescriptions

  for the pharmacy.

         140.    In June 2014, PCA employee Ada Lopez, at Matthew Smith’s direction, attended

  an outside training course, which warned that using marketers to generate compounding

  prescriptions could violate the AKS and not collecting copayments due from patients constitutes

  a kickback and is a crime. Ms. Lopez relayed the information she learned about the AKS to

  Matthew Smith when she returned from the training.

         141.    PCA’s contract with TeleMedTech reflects PCA’s familiarity with the Anti-

  Kickback Statute, the False Claims Act, and other laws regulating the health care industry, which

  the parties agreed would govern TeleMedTech’s services on behalf of PCA.

         142.    PCA, RLH, Patrick Smith, and Matthew Smith were also advised by counsel that

  paying commissions to marketers could violate the AKS. In summer of 2014, attorney David

  Corcoran communicated to Patrick Smith and Matthew Smith that the company should not be

  billing government programs for prescriptions referred by the marketers. Mr. Corcoran also



                                                   29
Case 0:15-cv-62617-BB Document 36 Entered on FLSD Docket 02/16/2018 Page 30 of 38



  advised PCA that it should not pay doctors or allow independent marketers to pay third-party

  referral sources.

         143.    When Mr. Corcoran learned in late December 2014 that TRICARE was the

  source of a majority of the compounding revenue, he expressed concern to Patrick Smith and

  recommended that Mr. Smith seek further advice from an experienced health care attorney.

         144.    On January 20, 2015, Patrick Smith spoke to health care attorney John Morrone,

  who conveyed that commission arrangements with independent contractors were highly suspect,

  if not outright illegal, and would not fall under the “bona fide” employee exception to the AKS.

         145.    On or about February 20, 2015, Patrick Smith spoke to health care attorney David

  Matyas, who understood that Patrick Smith contacted him because PCA and RLH were

  concerned about the legality of PCA’s relationships with the marketers. Mr. Matyas also

  communicated to Patrick Smith that PCA’s marketers needed to be converted to bona fide

  employees to qualify for the exception to the AKS.

         146.    In response to counsel’s advice to PCA, and with RLH’s knowledge and approval,

  in early March 2015, PCA informed the marketers that they would need to convert to W-2

  employees and sent them new draft employment agreements.

         147.    PCA and the marketers did not act quickly to convert the marketers to W-2

  employees, however, because they knew by March 2015 that the existing TRICARE

  reimbursement system for compounded drugs would remain in effect only through April 2015.

  PCA and the marketers therefore aimed to make as much money as possible under the existing

  independent contractor agreements before May 2015.

         148.    On March 14, 2015, RLH partner Glouchevitch forwarded to Patrick Smith and

  Matthew Smith the public announcement that TRICARE planned to implement a screening



                                                 30
Case 0:15-cv-62617-BB Document 36 Entered on FLSD Docket 02/16/2018 Page 31 of 38



  process to ensure coverage for all ingredients in compounded drugs beginning on May 1, 2015.

  In forwarding the email, Mr. Glouchevitch commented that he “would expect serious changes in

  TRICARE reimbursement to occur.”

          149.   Referencing the “changes coming up in Tricare,” on March 30, 2015, Steve Miller

  of TeleMedTech “ask[ed] that things remain status quo (1099) while we spend most of April

  beating our collective heads against the wall to get this done :)”

          150.   PCA did, in fact, maintain the status quo with MG Ten, TeleMedTech, and

  MDataRx. Of those marketers, only Monty Grow, the owner and operator of MG Ten,

  ultimately signed an employment agreement, and that agreement was not signed until April 29,

  2015.

          151.   When TRICARE reimbursements for compounded drugs dramatically decreased

  in May 2015, PCA stopped paying commissions to its marketers.

          152.   When CBS News made inquiries to PCA regarding compounding pharmacy

  fraud, Defendants worked together to respond with statements that were false and misleading.

  Patrick Smith, for example, emphasized that PCA would not tolerate efforts to jeopardize the

  physician-patient relationship and claimed the pharmacy was focused on the “best possible

  clinical outcome.” Patrick Smith also recorded statements that falsely stated PCA worked

  closely with physicians to tailor medicines to patients’ needs; falsely stated that PCA received

  prescriptions only from doctors; and falsely suggested that PCA required patients to make their

  copayments.



          H.     Defendants’ Conduct Was Material




                                                   31
Case 0:15-cv-62617-BB Document 36 Entered on FLSD Docket 02/16/2018 Page 32 of 38



         153.    As a condition of payment by TRICARE, a pharmacy must comply with the AKS

  and must not offer or pay anything of value to third parties in exchange for referring, arranging,

  or recommending TRICARE patients for prescriptions to be filled by the pharmacy and

  reimbursed by TRICARE.

         154.    In its Provider Agreement with ESI, PCA falsely promised that it would comply

  with all applicable fraud, waste and abuse laws, which include the AKS and the FCA. PCA’s

  promises to comply with all applicable fraud, waste, and abuse laws were material to its

  continued participation in the TRICARE prescription benefit program administered by ESI.

         155.    Defendants knew that compliance with the AKS was a condition of payment and

  material requirement for receiving TRICARE reimbursement.

         156.    DHA has exercised its authority to suspend providers under investigation for

  fraud and abuse, including the payment of kickbacks.

         157.    TRICARE was unaware of the Defendants’ conduct during the period from

  September 1, 2014 to April 29, 2015.

         158.    No person or entity on PCA’s behalf sought approval from DHA/TRICARE for

  PCA’s payments to third-party marketers of a percentage of PCA’s profit on TRICARE

  reimbursements for compounded drugs or for PCA’s use of purported charities associated with

  marketers to fund part of the copayment owed for prescriptions for compounded drugs for

  TRICARE beneficiaries.

         I.      The United States Suffered Damages

         159.    TRICARE paid PCA approximately $68 million for prescriptions illegally

  induced by kickbacks to MG Ten, TeleMedTech, and MDataRx from September 1, 2014 to April

  29, 2015, when the first and only one of the top three marketers (Monty Grow of MG Ten)


                                                  32
Case 0:15-cv-62617-BB Document 36 Entered on FLSD Docket 02/16/2018 Page 33 of 38



  signed an employment agreement. In this time period, PCA submitted approximately 11,718

  paid claims to TRICARE, the overwhelming majority of which were attributable to MG Ten,

  TeleMedTech, and MDataRx.1

           160.     TRICARE paid PCA approximately $16 million for prescriptions illegally

  induced by kickbacks in the form of PCA’s and TeleMedTech’s funding of patients’

  copayments.

           J.       Representative Claims

           161.     RR was a patient referred to PCA by Monty Grow of MG Ten. PCA filled

  prescription 107367 for RR for scar cream and submitted it to TRICARE, which processed the

  claim on January 28, 2015 and paid PCA $16,555.55 for the prescription on February 18, 2015.

  RR later became a marketer for Monty Grow and received kickbacks for patients she referred to

  PCA, including her husband and children. RR, a TRICARE beneficiary, eventually became an

  employee of PCA.

           162.     JC was a patient referred to PCA by Monty Grow. PCA filled prescription

  number 107271 for JC for scar cream and submitted it to TRICARE, which processed the claim

  on January 27, 2015 and paid PCA $16,557.39 on February 18, 2015. PCA also filled

  prescription number 107270 for JC for pain cream and submitted it to TRICARE, which

  processed the claim on January 27, 2015 and paid PCA $4,166.32 on February 18, 2015. JC

  later became a marketer for Monty Grow and received kickbacks for her own prescriptions. JC,

  a TRICARE beneficiary, eventually became an employee of PCA.




  1
   In order to protect patient confidentiality, a list of PCA claims to TRICARE has not been included in this
  Complaint. The United States will produce this information to Defendants at their request after entry of a protective
  order covering protected health information.

                                                           33
Case 0:15-cv-62617-BB Document 36 Entered on FLSD Docket 02/16/2018 Page 34 of 38



         163.   RR1 was a patient referred to PCA by Monty Grow. PCA filled prescription

  number 114075 for RR1 for scar cream and submitted it to TRICARE, which processed the

  claim on April 6, 2015 and paid PCA $18,230.29 on April 29, 2015. RR1 later became a

  marketer for Monty Grow and received kickbacks for his brother’s prescriptions. RR1, a

  TRICARE beneficiary, eventually became an employee of PCA.

         164.   JH was a patient referred to PCA by Erik Santos of MDataRx. PCA filled

  prescription number 108285 for JH for scar cream and submitted it to TRICARE, which

  processed the claim on February 21, 2015 and paid PCA $12,435.98 on March 18, 2015.

         165.   KT was a patient referred to PCA by Erik Santos. PCA filled prescription number

  106433 for KT for scar cream and submitted it to TRICARE, which processed the claim on

  January 16, 2015 and paid PCA $12,246.33 on February 4, 2015. KT, a TRICARE beneficiary,

  eventually became an employee of PCA.

         166.   EH was a patient referred to PCA by Erik Santos. PCA filled prescription number

  105463 for EH for scar cream and submitted it to TRICARE, which processed the claim on

  December 26, 2014 and paid PCA $10,040.89 on January 21, 2015.

         167.   EP was a patient referred to PCA by Steve Miller of TeleMedTech. PCA filled

  prescription number 110563 for EP for pain cream and submitted it to TRICARE, which

  processed the claim on March 9, 2015 and paid PCA $4,564.18 on April 12, 2015.   Pursuant to

  the scheme detailed above, PCA did not collect a copayment from EP but rather billed PFARN

  for EP’s copayment.

         168.   MC was a patient referred to PCA by Steve Miller. PCA filled prescription

  number 111021 for MC for pain cream and submitted it to TRICARE, which processed the claim

  on March 10, 2015 and paid PCA $4,764.76 on April 12, 2015. Pursuant to the scheme detailed



                                               34
Case 0:15-cv-62617-BB Document 36 Entered on FLSD Docket 02/16/2018 Page 35 of 38



  above, PCA did not collect a copayment from MC but rather billed PFARN for MC’s

  copayment.

         169.    MC1 was a patient referred to PCA by Steve Miller. PCA filled prescription

  number 114989 for MC1 for pain cream and submitted it to TRICARE, which processed the

  claim on April 10, 2015 and paid PCA $5,873.32 on April 29, 2015. Pursuant to the scheme

  detailed above, PCA did not collect a copayment from MC1 but rather billed PFARN for MC1’s

  copayment.



                                    FIRST CAUSE OF ACTION

                                   (False or Fraudulent Claims)
                           (False Claims Act, 31 U.S.C. § 3729(a)(1)(A))

         170.    The United States re-alleges and incorporates by reference the allegations of

  paragraphs 1 through 169.

         171.    By virtue of the acts described above, Defendants knowingly presented or caused

  to be presented to an officer or employee of the United States false or fraudulent TRICARE

  claims for payment or approval, in violation of the False Claims Act, 31 U.S.C. § 3729(a)(1),

  amended by 31 U.S.C. § 3729(a)(1)(A); that is, Defendants knowingly made or presented, or

  caused to be made or presented, to the United States claims for payment for compounded drugs

  for TRICARE patients that were tainted by kickbacks to marketers and patients and did not arise

  from a valid practitioner-patient relationship.

         172.    By reason of the foregoing, the United States suffered actual damages in an

  amount to be determined at trial, and therefore is entitled under the False Claims Act to treble

  damages plus a civil penalty for each false or fraudulent claim.




                                                    35
Case 0:15-cv-62617-BB Document 36 Entered on FLSD Docket 02/16/2018 Page 36 of 38



                                   SECOND CAUSE OF ACTION

                                        (Payment by Mistake)

         173.    The United States re-alleges and incorporates by reference the allegations of

  paragraphs 1 through 169.

         174.    This is a claim by the United States for the recovery of monies that TRICARE

  paid to PCA by mistake for compounded drugs that were tainted by kickbacks to marketers and

  patients and did not arise from a valid practitioner-patient relationship.

         175.    As a consequence of the conduct and the acts set forth above, PCA was paid by

  mistake by the United States in an amount to be determined which, under the circumstances, in

  equity and good conscience, should be returned to the United States.

                                    THIRD CAUSE OF ACTION

                                         (Unjust Enrichment)

         176.    The United States re-alleges and incorporates by reference the allegations of

  paragraphs 1 through 169.

         177.    This is a claim by the United States for recovery of monies by which PCA has

  been unjustly enriched.

         178.    By virtue of the conduct and the acts described above, PCA was unjustly enriched

  at the expense of the United States in an amount to be determined, which, under the

  circumstances, in equity and good conscience, should be returned to the United States.

                          PRAYER FOR RELIEF AND JURY DEMAND

         WHEREFORE, the United States respectfully prays for judgment in its favor as follows:

  1.     As to the First Cause of Action (False Claims Act), against Defendants for: (i) statutory

         damages in an amount to be established at trial, trebled as required by law, and such



                                                   36
Case 0:15-cv-62617-BB Document 36 Entered on FLSD Docket 02/16/2018 Page 37 of 38



        penalties as are required by law; (ii) the costs of this action, plus interest, as provided by

        law; and (iii) any other relief that this Court deems appropriate, to be determined at a trial

        by jury.

  2.    As to the Second Cause of Action (Payment Under Mistake of Fact), for: (i) an amount

        equal to the money paid by the United States through the TRICARE Program to PCA,

        and illegally retained by PCA, plus interest; (ii) the costs of this action, plus interest,

        as provided by law; and (iii) any other relief that this Court deems appropriate, to be

        determined at a trial by jury.

  3.    As to the Third Cause of Action (Unjust Enrichment), for: (i) an amount equal to the

        money paid by the United States through the TRICARE Program to PCA, or the amount

        by which PCA was unjustly enriched, plus interest; (ii) the costs of this action, plus

        interest, as provided by law; and (iii) any other relief that this Court deems appropriate, to

        be determined at a trial by jury.

  4.    All other and further relief as the Court may deem just and proper.

        The United States hereby demands a jury trial on all claims alleged herein.




                                                   37
Case 0:15-cv-62617-BB Document 36 Entered on FLSD Docket 02/16/2018 Page 38 of 38



  Respectfully submitted this 16th day of February 2018.


                                             CHAD A. READLER
                                             Acting Assistant Attorney General

                                             RANDY HUMMEL
                                             Attorney for the United States Acting Under
                                             Authority Conferred by 28 U.S.C. § 515
                                             Southern District of Florida


                                         By: /s/Susan Torres
                                             SUSAN TORRES
                                             Assistant United States Attorney
                                             Fla. Bar. No. 133590
                                             99 N.E. 4th Street
                                             Miami, Florida 33132
                                             Telephone: (305) 961-9331
                                             Facsimile: (305).530-7139
                                             Email: Susan.Torres@usdoj.gov


                                             MICHAEL D. GRANSTON
                                             JAMIE ANN YAVELBERG
                                             HOLLY H. SNOW
                                             NICHOLAS C. PERROS
                                             Attorneys, Civil Division
                                             U.S. Department of Justice
                                             P.O. Box 261
                                             Ben Franklin Station
                                             Washington, DC 20044
                                             Telephone: (202) 616-2879
                                             Email: Holly.H.Snow@usdoj.gov




                                                38
